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 1     AYNUR BAGHIRZADE
       1968 S. Coast Highway #2429
 2     Laguna Beach, CA 92651
       Phone: 619-630-6646
 3     Email: contact@aynurlawyers.com
 4     AYNUR BAGHIRZADE, IN PRO SE
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 6
 7                           UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA

 9
                                               Case No.: 3:24-CV-01077-RSH-MMP
10     AYNUR BAGHIRZADE,
                                               DECLARATION IN SUPPORT OF
11                              Plaintiff,     THE MOTION FOR LEAVE OF
                                               THE COURT TO FILE SECOND
12             v.                              AMENDED COMPLAINT
       ARMENIAN NATIONAL
13
       COMMITTEE OF AMERICA, et al.,
14
15                                             Presiding Judge: Hon. Robert Huie
16                                             Magistrate Judge : Hon. Michelle M.
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       Declaration in Support                        Case No.: 3:24-CV-01077-RSH-MMP
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 1
 2     I, AYNUR BAGHIRZADE, declare:
 3
 4            1.      I am a Plaintiff in the underlined case. I have personal knowledge of
 5     the matters stated herein and if called to testify could and would testify
 6     competently to them.
 7            2.      On June 21, 2024, I filed my Complaint for Damages and injunction
 8     Relief in this Court;
 9            3.      On August 15, 2024, I filed my First Amended Complaint (FAC) in
10     this Court;
             4.    After filing my FAC I did a research and discovered that following
11
       Defendants shall be added to the Complaint: ZARTONK MEDIA LLC, a
12
       California Limited Liability Company; ZAVEN KOUROGHLIAN, an individual;
13
       VAN DER MEGERDICHIAN, an individual; HAIRENIK ASSOCIATION, a
14
       Nonprofit Corporation; ANI TCHAGHLASIAN, an individual; LEGALSHIELD,
15
       Domestic For Profit Business Corporation; PARKER - STANBURY LLP, a
16
       California Limited Liability Partnership; GREYSTAR CALIFORNIA Inc., a
17
       Delaware Stock Corporation; KIA AMERICA Inc., a California Stock Corporation;
18
       YOUTUBE LLC, a Delaware Limited Liability Company; SUNDAR PICHAI, an
19
       individual.
20
              5.      After researching new facts I also discovered that new causes of
21
       actions shall be also added to the complaint and some of the previous causes of
22
       actions revised.
23
                      I declare under penalty of perjury and under the Laws of the United
24
       States of America that foregoing is true and correct. Executed on October 2, 2024
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       in San Diego, California.
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       Declaration in Support                          Case No.: 3:24-CV-01077-RSH-MMP
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 1
 2                                              Plaintiff, Aynur Baghirzade
 3                                              By: /s/ Aynur Baghirzade
 4                                              Aynur Baghirzade
 5                                              Email: contact@aynurlawyers.com
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       Declaration in Support                     Case No.: 3:24-CV-01077-RSH-MMP
